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                                                                                                                                                   FILED
UNITED STATES DISTRICT COURT                                                                                                                       CLERK
EASTERN DISTRICT OF NEW YORK                                                                                                                  4/23/2025 2:03 pm
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                                                                                                                                             U.S. DISTRICT COURT
JIMMY L. ADKINS, KEREM BAY,
                                                                                                                                        EASTERN DISTRICT OF NEW YORK
LANA BONGIOVI, CLEMENT CAMPBELL,
                                                                                                                                             LONG ISLAND OFFICE
ANGELO CARPOLA, ALEXANDER CIOFFI,
PATRICK H. CRAIN, DAVID CRONK,
NANCY F. DEBE, DENNIS DELUCIE,
CHARLES J. ENGEL, MATTHEW FARRELL,                                                                                                     JUGDMENT
BENNY FAILLA, ROBERT J. GIANI,                                                                                                         16-CV-641(JMA)(SIL)
JOHN R. LACKENBAUER, JEAN-PARNELL
LOUIS, WILLIAM J. MAHER, MICHAEL G.
MCDOWELL, JOHN ROSSI, WILLIAM R.
SHANNON, FRED H. SMITH, GARY E.
SOBEK, DAMIAN SOBERS, CARMELA
SZYMANSKI, ANTHONY TANZA, and
CYNTHIA TORRES,
                                                                     Plaintiffs,

                           -against-

GARDA CL ATLANTIC, INC.,

                                                                     Defendant.
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                A Memorandum and Order of the Honorable Joan M. Azrack, United States District Judge,

having been filed on April 22, 2025, severing John Rossi from this action; vacating the August 16,

2018 Memorandum and Order (“August 2018 Order”) only as to John Rossi; remanding only John

Rossi’s claims back to Supreme Court of the State of New York, Queens County; otherwise

denying Plaintiffs’ Motion to Vacate and Remand; and directing the Clerk of Court to remand John

Rossi’s claims back to Supreme Court of the State of New York, Queens County and to enter

judgment as to the other plaintiffs and to close this case; it is

                ORDERED AND ADJUDGED that the Motion to Vacate and Remand is granted in part

and denied in part; the August 2018 Order is vacated only as to John Rossi; only John Rossi’s

claims are remanded back to Supreme Court of the State of New York, Queens County; all other

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requested relief is denied; that the claims of Plaintiffs Jimmy L. Adkins, Kerem Bay, Lana

Bongiovi, Clement Campbell, Angelo Carpola, Alexander Cioffi, Patrick H. Crain, David Cronk,

Nancy F. Debe, Dennis Delucie, Charles J. Engel, Matthew Farrell, Benny Failla, Robert J. Giani,

John R Lackenbaur, Jean-Parnell Louis, William J. Maher, Michael G. McDowell, William R.

Shannon, Fred H. Smith, Gary E. Sobek, Damian Sobers, Carmela Szymanski, Anthony Tanza,

and Cynthia Torres are dismissed with prejudice; the Plaintiffs Jimmy L. Adkins, Kerem Bay,

Lana Bongiovi, Clement Campbell, Angelo Carpola, Alexander Cioffi, Patrick H. Crain, David

Cronk, Nancy F. Debe, Dennis Delucie, Charles J. Engel, Matthew Farrell, Benny Failla, Robert

J. Giani, John R Lackenbaur, Jean-Parnell Louis, William J. Maher, Michael G. McDowell,

William R. Shannon, Fred H. Smith, Gary E. Sobek, Damian Sobers, Carmela Szymanski,

Anthony Tanza, and Cynthia Torres take nothing of Defendant, Garda CL Atlantic, Inc.; and that

this case is closed.


Dated: April 23, 2025
       Central Islip, New York

                                                           BRENNA B. MAHONEY
                                                           CLERK OF COURT

                                                   BY:     /S/ HENRY MATUTE
                                                           DEPUTY CLERK




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